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                             UNITED      STATES DISTRICT   COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   Newport News Division


  ANTOINE JEFFREY FURLOW,


                           Petitioner,
  v.                                                             Civil No.:      4:13cvl20
                                                           Criminal No.:         4:llcr89
  UNITED    STATES OF AMERICA,


                           Respondent.



                                       OPINION AND ORDER


          This matter is before the Court on Antoine Jeffrey Furlow's

  ("Petitioner")       Motion to Vacate,           Set Aside,    or Correct Sentence,

  filed pursuant to 28 U.S.C. § 2255.x                   Petitioner's § 2255 motion

  advances several arguments asserting that trial counsel provided

  constitutionally ineffective assistance.                      Having considered the

  briefs and record,             the Court finds that an evidentiary hearing

  is    necessary     only    as    to    Petitioner's    claim    that     he   asked   his

  lawyer to file           an appeal       and his    lawyer refused.            As   to all

  other     claims,    for       the     reasons   set   forth    below,     Petitioner's

  §    2255 motion is DENIED.


                      I.   FACTUAL AND PROCEDURAL BACKGROUND


          Petitioner       and     numerous    co-conspirators       were     named    in    a

  multi-count indictment charging a                  drug trafficking conspiracy,

      Also pending before this Court is a motion filed by Petitioner seeking a
  sentence reduction based on the recent retroactive changes to the United
  States Sentencing Guideline applicable to drug trafficking offenses.  ECF
  No. 1190. The Court will resolve such separate motion by separate Order.
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  as well as other associated crimes.                          ECF No.        716.          Pursuant to a

  written           plea agreement,            Petitioner          pled guilty to the drug

  trafficking           conspiracy,           in       violation     of     21     U.S.C.             §§      846,

  841(a)(1),           and    841(b)(1)(C),             and   possession         of         a    firearm        in

  furtherance           of    drug      trafficking,          in    violation           of         18       U.S.C.

   § 924(c)(1).             Petitioner was             later sentenced to a                 total term of

  imprisonment of 117 months,                       consisting of 57 months on the drug

  trafficking           count,    and        60     months     consecutive             on       the      firearm

  count.            Such sentence           represented       the    low-end of                 the     advisory

  Guideline range.

           Subsequent to sentencing,                    Petitioner did not file a direct

  appeal        of    his    conviction           or    his   sentence.          He         did,        however,

   timely file the            instant        § 2255 motion.            The Government filed a

  brief     in opposition to                 such motion and Petitioner subsequently

   filed        a     "Motion         for     Summary         Judgment        in        Opposition              to

   Respondent's          Answer,"           which      this   Court       construes             as      a    reply

  brief in support of Petitioner's § 2255 motion.2                                               The instant

  matter is therefore ripe for review.

                                       II.    STANDARD OF REVIEW


           A federal prisoner,                in custody, may collaterally attack his

   sentence or conviction by moving the district court "to vacate,



  2 To the extent that Petitioner's filing labeled as a "Motion for Summary
  Judgment"         should be addressed as a separate                 motion seeking judgment in
   favor   of       Petitioner   in    this    § 2255      civil    action,      for    all       the       reasons
  discussed herein,          such motion is DENIED.
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  set   aside     or    correct       the      sentence."         28   U.S.C.          §    2255(a).          To

  obtain      such relief,           a   petitioner bears              the       burden of             proving

  that his sentence or conviction was "imposed in violation of the

  Constitution         or     laws    of    the      United      States,"        that       the        district

  court       "was without       jurisdiction to              impose       such sentence,"                   that

  the   sentence        exceeds       "the      maximum authorized by                      law,"       or    that

  the sentence or conviction is                        "otherwise subject to collateral

  attack."       Id.        A petitioner must prove the asserted grounds for

  relief      by a     preponderance            of    the   evidence.             Miller v.              United

  States,      261     F.2d    546,      547    (4th      Cir.    1958).         Because           a    §    2255

  motion "is ordinarily presented to the judge who presided at the

  original        conviction             and        sentencing         .     .     .        the         judge's

  recollection of the events at issue"                            may inform the resolution

  of    the    motion.         Blackledge            v.   Allison,         431    U.S.       63,        74    n.4

   (1977) .

          A § 2255 motion is,               in essence, a statutory federal habeas

  corpus action that collaterally attacks a sentence or conviction

  through the filing of a new proceeding,                                  as contrasted with a

  direct appeal.             United States v. Hadden, 475 F.3d 652,                                663 (4th

  Cir. 2007) .         The existence of the right to pursue a collateral

  attack       does    not     displace         a    direct      appeal      as    the        "usual          and

  customary method of correcting trial errors."                                   United States v.

  Allgood, 48 F. Supp. 2d 554, 558 (E.D. Va. 1999).
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          Although a petitioner advancing new claims asserted for the

  first         time    in        a     §     2255         motion        must        generally             "clear    a

  significantly higher hurdle than would exist on direct appeal"

  United States v. Frady,                     456 U.S.           152,    166       (1981),      a freestanding

  claim of        ineffective assistance of                            counsel is properly asserted

  for     the    first       time       in   a    §    2255      motion.            See    United          States   v.

  King,     119 F.3d 290,               295       (4th Cir.         1997)          ("[I]t is         well    settled

  that     va    claim of         ineffective assistance should be raised in a                                      28


  U.S.C.        § 2255 motion in the district court rather than on direct

  appeal,         unless          the        record          conclusively                shows        ineffective

  assistance.'"             (quoting United States v. Williams,                                  977 F.2d 866,

   871    (4th     Cir.      1992))).              Such      rule       exists          because       the    Federal

  Rules     Governing             §     2255       Proceedings            permit          expansion          of     the

  record,        which       is        generally           unavailable             on    direct        appeal       and

  often     necessary             to    properly           resolve       an        ineffective         assistance

  claim.         United States               v.    Baptiste,            596    F.3d 214,             216    n.l    (4th

   Cir.    2010)       (citing Massaro v. United States,                                 538 U.S.          500,   504-

   06,    (2003)).

          The      Sixth      Amendment               to    the        Constitution             of    the     United


  States provides that "the accused shall enjoy the right ... to

  have     the    Assistance            of       Counsel         for    his    defence."              U.S.    Const,

  amend.        VI.         The       Supreme         Court       has    interpreted             the       right     to

  counsel        as    providing a               defendant         "'the       right       to    the       effective

  assistance           of    counsel.'"               Strickland              v.    Washington,             466   U.S.

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  668, 686       (1984)     (quoting McMann v. Richardson,                  397 U.S. 759, 771

  n.14      (1970))      (emphasis        added).       To    obtain relief          based on an

  allegation          of     ineffective         assistance,          a     petitioner            must

  establish       both      that:    (1)     counsel's        performance      fell        below    an

  objective         standard         of     reasonableness;           and      (2)     counsel's

   inadequate performance caused the petitioner prejudice.                                   Id.    at

  687-88.         "[U]nsubstantiated and largely conclusory statements"

  are    insufficient        to     carry a     petitioner's         burden as        to    the    two

  prongs of        the Strickland test.                 United States v.        Turcotte,          405

  F.3d 515,       537    (7th Cir.    2005).

          When evaluating counsel's performance under the first prong

  of Strickland,           courts "must be highly deferential."                      Strickland,

  466 U.S.       at 689;     see Kimmelman v. Morrison,               477 U.S.       365,     381-82

   (1986)       (discussing the           "highly demanding"         Strickland standard).

  To      establish          constitutionally                deficient       performance,            a

  petitioner        must     demonstrate         that     his    lawyer      "made     errors       so

  serious        that      counsel    was       not     functioning       as   the         'counsel'

  guaranteed ... by the Sixth Amendment."                             Strickland,          466 U.S.

  at     687.       Such     a    showing       must     go     beyond    establishing            that

  counsel's        performance            was   below         average,      since      "effective

  representation is not synonymous with errorless representation."

  Springer v.           Collins,     586 F.2d 329,             332   (4th Cir.        1978);       see

  Strickland, 466 U.S. at 687.                   As it is all too easy to challenge

  an act, omission,           or strategy, once it has proven unsuccessful,

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   "every effort [must] be made to eliminate the distorting effects

  of    hindsight,       to     reconstruct            the       circumstances             of    counsel's

  challenged conduct,                and to      evaluate        the      conduct      from counsel's

  perspective at the time."                      Strickland,            466 U.S.    at 689.         Courts

  should    therefore          "indulge          a   strong      presumption           that      counsel's

  conduct      falls within           the wide        range        of    reasonable professional

  assistance."          Id.


         The    second        prong        of    Strickland         requires       a       petitioner      to

   "affirmatively prove prejudice,"                         which requires             a    showing that

   "there      is   a   reasonable              probability         that,     but          for   counsel's

  unprofessional errors,                the      result of         the     proceeding would have

  been different."             Strickland,           466 U.S.       at 693-94.             "A reasonable

  probability is a probability sufficient to undermine confidence

  in the outcome."             Id. at 694.             If the petitioner fails to prove

  either of the two prongs of the Strickland test,                                     the Court need

  not   evaluate        the    other        prong     of     the    test.          United        States    v.

  Roane,    378 F.3d 382,            404    (4th Cir.        2004).

                                            III.     DISCUSSION


         Petitioner's          §     2255       motion       alleges       that     defense         counsel

  provided ineffective assistance by:                            (1)     failing to demand that

  the Government stipulate to a specific drug weight; (2)                                           failing

  to object to the denial of a Guideline credit for acceptance of

  responsibility;              (3)         failing          to     review          the          Presentence

  Investigative          Report        ("PSR");            (4)   failing       to        challenge        the

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  firearm in furtherance count;               and    (5)   failing to    file a direct

  appeal.      As set forth below,            Petitioner's first         four arguments

  are DENIED on the merits.              As   to Petitioner's       fifth claim,        that

  his lawyer failed to file a direct appeal,                     the Court WITHHOLDS

  RULING until an evidentiary hearing is conducted.

             A. Ineffective Assistance - Specific Drug Quantity

          Petitioner      first    claims     that     his   court-appointed        lawyer

  provided constitutionally ineffective                    representation by       failing

   to insist that Petitioner's written plea agreement articulate a

   specific drug quantity.              Associated with such claim,             Petitioner

  appears to argue that his conviction and/or sentence is invalid

  because neither his            plea agreement        nor his   PSR establishes          an

   "exacting amount of drugs."             ECF No. 1129,      at 6-7.

          Petitioner's assertions of error appear to be based on both

  a misunderstanding of the law and an incorrect recitation of the

   facts.      As   to    the    law,    although     Petitioner       argues    that    his

  conviction and/or sentence is "invalid and illegal" because his

  plea agreement         fails to establish an "exacting"                drug quantity,

   id.,     there   is no       legal   requirement        that a      drug trafficking

  conviction be based on a precise quantity of drugs.                           See United

  States v.     Uwaeme,     975 F.2d 1016,          1019   (4th Cir.    1992)    ("Neither

   the Guidelines nor the courts have required precise calculations

  of drug quantity."); U.S.S.G.               § 2D1.1 App. n.5 (indicating that

  the Court "shall approximate" the drug quantity if "there is no

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  drug seizure or the amount seized does not reflect the scale of

  the offense").3

         Turning to the           facts     relevant          to Petitioner's claim,                  even

  though      a   drug     quantity    need     not       be     determined          in    advance     of

  sentencing,        Petitioner and his                 lawyer did        in    fact       negotiate a

   stipulated       drug    quantity        range       at     the     time     of    his     plea,     as

  reflected in the sworn "Statement of Facts"                             that was executed by

   the parties.          ECF No. 905 H 2.               Pursuant to such stipulation, it

  was    both      parties'      position      that           Petitioner's           crime     involved

   "between 500 grams and two kilograms" of cocaine and "less than

   28   grams"     of    cocaine    base.       Id.           Absent     such       stipulation,        it

   appears        that     Petitioner's        "base          offense         level"        under      the

   sentencing Guidelines            in effect            at    the     time    of    his     sentencing

  would have been a             level 34,      but such stipulation resulted in a

  base        offense      level      of      28.              Accordingly,            rather         than

   demonstrating that his counsel performed deficiently at the plea

   stage,     Petitioner's       focus      on this           issue     in his       § 2255     filings



   3 If a defendant is sentenced based on a drug quantity that triggers an
   increased statutory penalty, the minimum quantity of drugs necessary to
   trigger such enhancement must either be found by the jury beyond a
   reasonable doubt or admitted to by the defendant.                           See United States v.
   Rudolph,    561 F.    App'x 291,   292    (4th Cir.         2014)    («[F]acts that increase a
  statutory minimum, like those that increase a statutory maximum, must be
  pleaded in the indictment and either admitted by the defendant or found by
  a jury beyond a reasonable doubt" (citing Alleyne v. United States, 133 S.
  Ct.  2151,  2159-64  (2013))).    However, here,  even though Petitioner
  admitted to a drug quantity that could have triggered an increased
  statutory penalty, he pled guilty to, and was sentenced pursuant to, the
  baseline drug trafficking statute that provides no enhanced statutory
  punishment.       21 U.S.C.    § 841(a)(1)    and 841(b)(1)(C).

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  reveals    that     defense    counsel's     efforts      secured a     substantially

  lower     sentence     than    Petitioner     would       have    otherwise       received


  absent     the     stipulation.       Petitioner,          therefore,       has     clearly

  failed to        demonstrate    constitutionally deficient performance or

  resulting prejudice           under   the   two-pronged          Strickland       standard.

  His first claim is therefore denied.4

        B. Ineffective Assistance - Acceptance of Responsibility

          Similar to the prior claim,           Petitioner's assertion that his

  counsel     performed     deficiently        by     not    securing     a     sentencing

  credit for acceptance of responsibility is belied by the record.

  Although Petitioner's          PSR initially did not              award a credit        for

  acceptance,       defense counsel filed a position paper specifically

  objecting to the lack of such credit.                     ECF No.    1021.     The Court

  sustained        the   objection      made     by     Petitioner's           counsel     at

  sentencing,       and Petitioner's offense level was reduced by three

  levels,    the maximum reduction permitted under the Guidelines for

  acceptance.         U.S.S.G.    § 3E1.1.      Therefore,          Petitioner's       second

  claim,    which relies on factually incorrect information,                        fails to

  demonstrate either deficient performance or resulting prejudice,

  and it is therefore denied.




  4 For the same reasons, the Court rejects Petitioner's apparent claim that
  defense counsel was deficient for failing to raise this Court's "Rule 11
  violation" that purportedly occurred when the Court accepted a guilty plea
  that was "[de]void of a specific drug quantity."  ECF No. 1129, at 24.
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                 C.   Ineffective Assistance -                § 3553(a)       Factors


          Petitioner's          third    claim    appears        to    assert      that      defense

   counsel was        ineffective for failing to                review the PSR with him

   and    failing     to    argue    that      Petitioner's           sentence     was       "greater

   than necessary" under the statutory sentencing factors set forth

   in 28 U.S.C.        § 3553(a).         As     to    the    first part of         Petitioner's

   claim,      such    contention         conflicts          with      the     record,       because

   Petitioner stated at             sentencing,        under oath and on the record,

   that he had sufficient time to review the PSR with his attorney

   and that there were no errors contained in the report other than

   the two objections filed by defense counsel.                              Cf.   United States

   v. Lemaster,       403 F.3d 216,           221 (4th Cir.         2005)     (indicating that,

   absent      "extraordinary        circumstances,            allegations         in    a    §    2255

   motion      that   directly      contradict         the    petitioner's         [prior]        sworn

   statements"        are       considered       "patently           frivolous        or      false")

   (internal     citations       omitted).        Such claim          is     therefore       afforded

   no weight by the Court.

          As    to    Petitioner's        assertion          that     his    lawyer      failed      to

   effectively argue for a lower sentence,                      or that the Court failed

   to    adequately consider            the    § 3553(a)       factors,       Petitioner fails

   to     demonstrate           constitutionally             deficient         performance           or

   resulting      prejudice.            Based    on     this    Court's        recollection          of

   sentencing proceedings,              defense counsel provided very effective

   representation          at   sentencing,       as     he    not     only    secured        a   nine

                                                  10
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   level    reduction          in       Petitioner's             offense       level,      but      he    argued

   numerous relevant § 3553(a)                      factors,        contending that this was an

   unusual       case    based         on    Petitioner's           background,           that      the       Court

   should     place          an        emphasis         on       Petitioner's            impressive           work

   history,       that       Petitioner           had     no     history       of   violence,            that      he

   needed     drug       counseling,              and      that     he    grew      up    with      a     mother

   abusing       drugs         which         had      a      very        negative        impact          on     his

   upbringing.          Counsel further argued that even the low-end of the

   Guidelines would be a very long sentence because Petitioner had

   no prior record and will be in prison for his entire thirties.

           After arguing numerous mitigating                              factors,        any failure              to

   expressly       request             a     downward           variance        falls      far      short          of

   constitutionally               ineffective             assistance.           Rather,        particularly

   in    light    of     the       large      drug      quantities            involved     in    this         case,

   counsel       appears          to       have    made      a    strategic         decision         that       was

   likely made          to     avoid         losing       credibility          with      the    Court,        as    a

   loss of credibility can occur when a lawyer requests a sentence

   that is simply not in line with the facts of a particular case.5

           Moreover,         even       if   Petitioner had demonstrated that                            counsel

   was   deficient           for       failing     to      request        a   variance,        he    fails         to



   5 It is important to note that the "stipulation" between the parties was
   not binding on the Court, and was thus subject to being rejected in favor
   of a base offense level six levels higher                                   than the offense level
   Petitioner's sentence was ultimately based on.                              In such circumstances, a
   good defense attorney knows when a favorable deal for his client has been
   reached and may tread carefully not to upset such beneficial deal.

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   demonstrate a "reasonable probability" that such a request would

   have    been    successful,            and     thus    fails       to     satisfy     Strickland's

   prejudice prong.6                Strickland,          466     U.S.       at 694.          For    these

   reasons, Petitioner's third claim for relief is denied.

                    D.   Ineffective Assistance - Firearm Count

          Petitioner's            fourth    claim    asserts          that    defense    counsel         was

   ineffective         based       on     his     handling       of     Petitioner's          §    924(c)

   conviction for possessing a firearm in furtherance of the drug

   trafficking conspiracy.                  Specifically, Petitioner's § 2255 brief

   asserts     that his           lawyer was        deficient          for     failing     to explain

   such    charge        to       him     and     that     it     was        "illegal"     to      charge

   Petitioner with such crime.


          As with Petitioner's third claim,                           Petitioner's assertion of

   facts relevant to this claim expressly conflict with his prior

   sworn    statements,           and     thus,    are     deemed       "patently        frivolous        or

   false."        Lemaster,         403    F.3d at        221.        During    Petitioner's         plea

   colloquy,       the        §   924     charge     was       explained        to     Petitioner         in

   detail,     including           the    elements       of     the    offense,      the     five    year

   mandatory minimum sentence,                    and the fact that such sentence was

   required       to     be       served    consecutively              to     any    other        term    of

   imprisonment imposed by the Court.                            Petitioner indicated,              under


   6 Notably, the Court specifically reviewed the § 3553(a)                             factors on the
   record prior to imposing a sentence, and after careful consideration of
   such factors, determined that a sentence at the low-end of the advisory
   Guideline range was sufficient, but not greater than necessary, to comply
   with the purposes set forth in § 3553(a).

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   oath   and   on    the    record,          that       he        understood       this.         Moreover,

   Petitioner stated under oath that he had received a                                       copy of the

   indictment and that he had fully discussed those charges and the

   case   in general        with his          attorney.               Petitioner further              stated

   that he had both received a                  copy of the written plea agreement

   and his lawyer had fully explained the plea agreement to him.7

   Petitioner's       directly       contradictory                  factual        assertions         in   his

   § 2255 filings are afforded no weight by the Court.                                      Id.

          Petitioner's       associated argument                      on   this     issue     appears        to

   assert    that,        notwithstanding                his       prior      admission          of   guilt,

   Petitioner        is    innocent       of        the        §     924(c)     charge       because         he

   purchased    his       firearm    for      protection,              not    to    advance       his      drug

   trafficking       activities.           First,          Petitioner's            factual        assertion

   that   his   firearm      was     "in       storage"             and    unrelated        to    his      drug

   trafficking activities is afforded no weight because Petitioner

   previously    admitted,          in    his       sworn           "Statement       of     Facts,"        that

   "[d]uring several of the drug transactions occurring between May

   and December 2010,         the defendant was armed with a                              semi-automatic

   handgun while          engaging       in    the        [drug       trafficking]          conspiracy."



   7 The very first page of the written plea agreement clearly states that
   Petitioner   is    pleading   guilty        to    a    §    924 (c)     count    and   sets     forth    the
   penalties for such offense.            ECF No.         904 ^ 1.         The last page of the plea
   agreement states, immediately prior to Petitioner's signature, that he had
   "consulted with [his] attorney and fully understand[s] all rights with
   respect to the pending criminal indictment," that he "read th[e] plea
   agreement and carefully reviewed every part of it with [his]                                   attorney,"
   and that he understands the terms of the plea agreement. Id.

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   ECF No.      905    H 3;        see Lemaster,            403        F.3d at            221.        Petitioner's

   admission          that     he        carried       a        handgun             during       multiple          drug

   transactions         directly          supports          his       guilt          on    this       count.           See

   United       States       v.     Lomax,       293       F.3d        701,          705    (4th       Cir.       2002)

   (indicating         that,        to    establish             a    violation             of    §    924(c),          the

   government must only prove that a firearm was                                            "possessed"            in a

   manner       that       "furthered,           advanced,            or        helped          forward       a    drug

   trafficking         crime,"           which    can       include                  providing         "a     defense

   against      someone       trying        to    steal drugs                  or    drug profits,"               or    to

   deter       such    conduct,           or     to     enable             a    dealer          to    collect          the

   proceeds of a drug deal,                    or to "serve as protection in the event

   that    a    deal       turns     sour",        or      to        "prevent          a    transaction            from

   turning sour in the first place").8

           In    contrast          with     Petitioner's               assertions                in   his     §    2255

   filings,         there is no legal requirement that a gun be "engaged"

   during       a     drug        transaction.                  Notably,              as     acknowledged               by

   Petitioner         in     his    sworn      Statement             of        Facts,      if     this      case       had

   gone to trial, the Government would have presented evidence that

   guns are a tool of the drug trade that are possessed during drug

   transactions to protect not only the drug dealer's safety,                                                          but

   also    both       the     narcotics          and       the       cash           exchanged         during       such

   8 Petitioner's            repeated      assertions               that       the    firearm         was     "legally
   purchased" and "surrendered" to authorities by Petitioner at the time of
   his arrest are largely irrelevant to the determination of whether, between
   the time it was purchased and the time it was surrendered, the firearm was
   "possessed in furtherance" of Petitioner's drug trafficking crime.

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   transactions.              As    noted       above,         the    Fourth         Circuit       expressly

   recognized in Lomax that possessing a firearm for such purposes

   can establish that the gun was possessed in "furtherance" of the

   drug trafficking crime,                     whether or not the gun is discharged,

   brandished,          or       otherwise             actively        employed.9                 Petitioner

   therefore          fails         to      demonstrate               any      legal         or         factual

   insufficiencies as to the § 924(c)                              conviction,       and he thus fails

   to     demonstrate            that       his        counsel        provided         constitutionally

   deficient performance for failing to challenge such conviction.

   Moreover, even if counsel was deficient in some way,                                          in light of

   Petitioner's         sworn        stipulation              of    facts,     which        he    previously

   swore     are      "true      and     correct,"        Petitioner          fails     to       demonstrate

   resulting prejudice as there is not a                                "reasonable probability"

   that     an express           challenge        to     such charge           would have          led     to   a

   different outcome.                  Strickland, 466 U.S. at 694.10                        Petitioner's

   fourth claim i s           therefore denied.




   9 To the extent Petitioner contends that he possessed the firearm merely
   for personal protection "[s]ome of the ways a firearm might xfurther[ ],
   advance[ ], or help[ ] forward a drug trafficking crime' include defending
   the dealer's . . . person."    United States v. Moore, 769 F.3d 264, 270
   (4th Cir. 2014) (quoting Lomax, 293 F.3d at 705).

   10 The Court likewise rejects Petitioner's argument based on Bailey v.
   United States,       516      U.S.    137    (1995),       which held      that    the    "use"      prong of
   §    924(c)   is   not     satisfied        absent     some      evidence    that    the       firearm    was
   employed or implemented in some way.     First, Petitioner pled guilty to
   § 924(c)'s "possesses" in furtherance prong (adopted by Congress after
   Bailey), not its "uses or carries" during or in relation to prong.
   Second, even if the "uses or carries" prong of the statute was applicable,
   the     definition       of     "uses"      would     be    irrelevant       to    this       case    because
   Petitioner      expressly admitted             to    "carrying"      the    firearm during multiple

                                                         15
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             E. Ineffective Assistance - Failure to File Appeal

          Petitioner's        final      claim        asserts    that      defense        counsel

   provided     constitutionally            deficient      assistance          by     failing    to

   file an appeal as requested by Petitioner.                           Although Petitioner

   waived     his     right     to      appeal      pursuant      to     his     written       plea

   agreement,       the law requires a defense attorney "to file a notice

   of appeal when unequivocally instructed to do so by his client,

   even if doing        so    would be       contrary to        the     plea agreement          and

   harmful      to     the     client's          interests."            United        States     v.


   Poindexter,       492 F.3d 263,         273   (4th Cir.      2007);    see United States

   v.    Witherspoon,        231     F.3d    923,      925-27    (4th     Cir.        2000)     ("An

   attorney who fails           to file an appeal after being instructed by

   his    client to do        so is per se ineffective.")                 (emphasis added).

   In opposition to Petitioner's claim,                   the Government relies on an

   affidavit        submitted      by    Petitioner's        former      lawyer        indicating

   that    counsel     reviewed      Petitioner's        appeal        waiver    with    him    and

   that Petitioner never asked counsel to file an appeal.                                 ECF No.

   1145 S D-

           Notwithstanding           the         sworn    affidavit             submitted        by

   Petitioner's former counsel, because the instant factual dispute

   turns    solely on credibility,               it    is necessary for the             Court    to

   conduct an evidentiary hearing prior to issuing a ruling on this


   drug transactions,        which plainly satisfies the          "carries"         portion of the
   "uses or carries"    element.


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   issue.      See United States v.                Diaz,          547    F. App'x 303,            304     (4th

   Cir.     2013)     ("[W]e       long    ago     recognized            that      there        remains     'a

   category of petitions,              usually involving credibility,                            that will

   require an evidentiary hearing in open court.'"                                       (quoting Raines

   v.    United     States,    423    F.2d       526,       530    (4th      Cir.       1970)));       United

   States     v.     Matthews,       239     F.    App'x          806,       807       (4th     Cir.    2007)

   ("Unless it is clear from the pleadings,                              files,        and records that

   the     prisoner     is     not        entitled          to    relief,          §     2255    makes      an

   evidentiary hearing in open court mandatory."                                    (citing 28 U.S.C.

   § 2255;     Raines,      423     F.2d at       529;       Witherspoon,              231    F.3d at     925-

   27)).      Following        the    procedure             outlined below,              an     evidentiary

   hearing is therefore ordered.

           Because     an     evidentiary          hearing          is       necessary,          the     Court

   DIRECTS the Clerk to appoint counsel to represent Petitioner at

   such hearing.         See R. Governing § 2255 Proceedings in U.S.                                    Dist.

   Cts.     8(c)    ("If an evidentiary hearing                         is   warranted,          the     judge

   must     appoint     an     attorney           to    represent            a     moving        party     who

   qualifies        to have counsel appointed under 18 U.S.C.                                   § 3006A.")

   (emphasis added).            As soon as new counsel is appointed,                                   counsel

   for     Petitioner        and     counsel       for       the        Government            shall     confer


   regarding mutually              agreeable       hearing          dates,         and       counsel     shall

   contact     the    undersigned          Judge's          calendar         clerk       to    schedule     an

   evidentiary hearing as soon as practicable.                                   Based on the nature

   of Petitioner's claims,                Petitioner will be required to appear in

                                                       17
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   person for such evidentiary hearing.                               Accordingly,         counsel shall

   ensure that the date chosen for the hearing affords the United

   States Marshals Service adequate time to transport Petitioner to

   this Court.


                                               IV.    CONCLUSION


           For    the       reasons      stated above,               Petitioner's      §   2255   motion,

   ECF    No.    1128,        is     DENIED     as    to       all    claims     except     Petitioner's

   claim that his former counsel provided ineffective assistance by

   failing to file an appeal after he was instructed to do so.                                             As

   to    the     failure        to      appeal       claim,       this    Court      WITHHOLDS     RULING

   until after an evidentiary hearing is conducted.

           As set forth above,                 the Court DIRECTS               the Clerk to appoint

   a     new     defense           attorney          to        represent        Petitioner        at      the

   evidentiary hearing.                   R.     Governing           § 2255     Proceedings       in U.S.

   Dist.    Cts. 8(c).             After counsel is appointed,                      a hearing shall be

   scheduled           in     accordance         with       the       procedure       outlined         above.

   Petitioner          will        be    required          to     appear       in    person      for     such

   evidentiary hearing.

           As    the    instant Opinion and Order is not a "Final Order"                                   in

   this     collateral             proceeding,             Petitioner's             limited      appellate

   rights       are     not    outlined        herein.            After    the      conclusion     of     the

   evidentiary hearing,                  this Court will              issue a Final Order as               to

   the pending § 2255 motion,                     and will at that time:                   (1)   determine

   whether to issue a certificate of appealability as to any of the

                                                          18
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   claims    that    have   been   denied;    and   (2)    inform     Petitioner      about

   the   steps necessary to pursue an appeal as                   to any claim denied

   by this Court.

           The Clerk is DIRECTED to forward a copy of this Opinion and

   Order    to     Petitioner,     Petitioner's     former        counsel,    the    United

   States    Attorney's      Office    in    Newport      News,    Virginia,        and   the

   United States Marshals Service.


           IT IS   SO ORDERED.




                                                                        7ma&
                                                                      /S/
                                                                  Mark S.    Davis
                                                    UNITED    STATES DISTRICT JUDGE
   Norfolk, Virginia
   March Q3> , 2015




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